[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
On February 14, 2002, the date for trial of the above matter, the proposed substitute plaintiff, David Cayer, filed a motion wherein he sought to be substituted for the record plaintiff, Cayer Enterprises, Inc.
In said motion it was alleged that on or around November 7, 2001, Cayer Enterprises dissolved and assigned all of its rights, assets and receivables to David Cayer, the sole stockholder of Cayer Enterprises, Inc., on the date of dissolution.
The defendant objected to the relief sought in the motion.
In response to questions by the court, the movant, through counsel, stated that he was not prepared to offer any competent evidence and testimony as to the assignment, including the date of assignment, the scope of the assignment and the consideration, if any, given for said assignment.
Absent that evidence and testimony, the court finds that the named corporate plaintiff is dissolved and no longer exists, and the court is without sufficient evidence to find that David Cayer is the assignee of said corporate plaintiff with the requisite standing to prosecute the claims set forth in the complaint.
The motion to substitute is hereby denied without prejudice for reconsideration should the court set aside the following dismissal.
For the foregoing reasons, the court, sua sponte, hereby enters judgment dismissing the above-captioned matter, there being no plaintiff — either natural person or corporate entity.
By the Court, CT Page 3967
_________________________ Joseph W. Doherty, Judge